
PARIENTE, J.
We have for review the opinion in Swihart v. State, 721 So.2d 810 (Fla. 5th DCA 1998), which certified conflict with the opinions in State v. Holland, 689 So.2d 1268 (Fla. 1st DCA 1997), and State v. Perry, 716 So.2d 327 (Fla. 2nd DCA 1998). We have jurisdiction. See art. V, § 3(b)(4), Fla. Const. For the reasons expressed in our opinion in Hayes v. State, 750 So.2d 1 (Fla.1999), the decision of the Fifth District is hereby quashed. We remand to the district court for proceedings consistent with this opinion.
It is so ordered.
HARDING, C.J., and SHAW, WELLS, ANSTEAD, LEWIS and QUINCE, JJ., concur.
